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EXHIBIT 2
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LIMITED LIABILITY COMPANY OPERATING AGREEMENT
OF

NDAP, LLC
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Limited Liability Company Operating Agreement
of

NDAP, LLC

This Limited Liability Company Operating Agreement of the

above, a limited liability company organized pursuant to the New
York Limited Liability Company Law, is entered into and shail be
effective as of the Effective Date, by and among the Company and
the persons executing this Agreement.

ARTICLE I
DEFINITIONS

For purposes of this Agreement (as defined below), unless the

context clearly indicates otherwise, the following terms shall have
the following meanings:

1.1 Act. The New York Limited Liability Company Act and all

amendments to the Act.

1.2 Additional Contribution. An additional Capital

Contribution payable by the Members to the Company pursuant to
Article VIIT.

1.3 Additional Contribution Share. A Member's proportionate

share of an Additional Contribution, (i) equal to the product of
{A) such Member's Initial Sharing Ratio (set forth in Schedule A to
this Agreement) and (B) such Additional Contribution or (ii) as
otherwise agreed by the Members under Section 8.2.

1.4 Agreement. This Limited Liability Company Operating

Agreement including all amendments adopted in accordance with the
Agreement and the Act.

1.5 Articles. Tha Articles of Organization of the Company, as

amended from time to time, and filed with the Secretary of State of
New York.

1.6 Assignee. A transferee of a Membership Interest who has

not been admitted as a Substitute Member.

1.7 Bankrupt Person. A Person who: (1) has become the subject

of an Order for Relief under the United States Bankruptcy Code by
voluntary or involuntary petition, or (2) has initiated, either in
an original Proceeding or by way of answer in any state insolvency
ox receivership Proceeding, an action for liquidation, arrangement,

composition, readjustment, dissolution, or similar relieZ.
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1.8 Business Day. Any day other than Saturday, Sunday or any
legal holiday observed in the State of New York.

1.9 Capital Account. The account maintained for a Member or
Assignee determined in accordance with Article VIII.

1.10 Capital Contribution. Any contribution of Property or
services made by or on behalf of a Member or Assignee.

1.11 Commitment. The Capital Contributions that a Member is
obligated to make, including a Member's Initial Capital
Contribution and any Additional Contribution Share of a Member.

1.12 Company. The company named at the beginning of this
Operating Agreement, a limited liability company formed under the
laws of New York, and any successor limited liability company.

1.13 Default Interest Rate. The prime rate published by the
Wall Street Journal for the last Business Day on which a Commitment
is payable.

1.14 Delinquent Member. A Member who has failed to meet the
Commitment of that Member.

1.15 Disability. The inability of a Member by reason of
injury or mental or physical illness to substantially perform his
usual duties as a manager for a period of six (6) consecutive
months without an intervening return to work exceeding twenty (20)
days during said period.

1.16 Disposition. Any sale, assignment, exchange, mortgage,
pledge, grant, hypothecation, or other transfer, absolute or as
security or encumbrance (including dispositions by operation of
law).

1.17 Dissociation. Any action which causes a Person to cease
to be a Member as described in Article XII hereof.

1.18 Dissolution Event. An event, the occurrence of which will
resuit in the dissolution of the Company under Article XIII.

1.19 Distribution. A transfer of Property to a Member on
account of a Membership Interest as described in Article IX.

1.20 Effective Date. The date of filing of the Articles of
Organization or such other date as set forth in the Articles of
Organization.

1.21 Fiscal Year. The calendar year.

 
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1.22 Initial Capital Contribution. The Capital Contribution

agreed to be made by the Members as described In Article VIII.

1.2] Initial Membership Interest. The Initial Membership

‘Interest set forth in Schedule A.

1.24 Initial Sharing Ratio. The Initial Sharing Ratio set

forth in Schedule A.

1.25 Majority. For purposes of this Agreement, Majority shall

mean more than fifty (50%) percent of the Membership Interests.

1.26 Management Right. The right of a Member to participate

in the management of the Company, to vote on any matter, and to
grant or to withhold consent or approval of actions of the Company.

1.27 Managing Member. A member {or The Member) selected to

manage the affairs of the Company under Article VII hereof.

_ 1.28 Manager. A person (or the persons) selected to manage

the affairs of the Company under Article VII hereof.

1.29 Member. A person executing the Agreement as a Member,

and a Substitute Member.

1.30 Membership Interest. The rights of a Member to

Distributions (liquidating or otherwise) and allocations of the
profits, losses, gains, deductions, and credits of the Company,
and, to the extent permitted by this Agreement, to possess and
exercise Management Rights.

1.31 Net Cash Flow. With respect to any fiscal period of the

Company, ali revenues of the Company during that period decreased

(a) cash expenditures for operating expenses, (b) capital

expenditures to the extent not made from reserves, (c} reserves for
contingencies and working capital, established in such amounts as
the Members may determine, {d} repayment of principal on any
financing and (e) taxes.

1.32 Organization. A Person other than a natural person,

including without limitation corporations (both non-profit and
other corporations), partnerships (both limited and general), joint
ventures, limited liability companies, business trusts. and
unincorporated association, but the term does not include joint
tenancies and tenancies by the entirety.

1.33 Person. An individual, trust, estate, or any

Organization permitted to be a member of a limited liability
company under the laws of the State of New York.

1.34 Principal Office. The Principal Office of the Company set
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forth in Section 2.6.

1.35 Proceeding. Any administrative, judicial, or other
adversary proceeding, including without limitation litigation,
arbitration, administrative adjudication, mediation, and appeal or
review of any of the foregoing.

1.36 Property. Any property, real or personal, tangible or
intangible, including money, and any legal or equitable interest in
such property, but excluding services and promises to perform
services in the future.

1.37 Schedule A. Schedule A to this Agreement setting forth
the name, address, Initial Capital Contribution, number of Units,
Initial Membership Interest and Initial Sharing Ratio of each
Member, and the Member designated as the Tax Matters Partner.

1.38 Sharing Ratio. With respect to any Member, as of any
date, the ratio (expressed as a percentage) of (i) such Member's
Capital Contribution to (ii) the aggregate Capital Contributions of
all Members, or such other ratio as shall be agreed by all Members
from time to time. The Initial Membership Interest and Sharing
Ratio of each Member is set forth in Schedule A hereof, and
Schedule A shall be amended as necessary to conform te any changes
thereof agreed te by the Members. In the event all or any portion
of a Membership Interest is transferred in accordance with the
terms of this Agreement, the transferee shall succeed to the
Membership Interest and Sharing Ratio of the transferor to the
extent it relates to the transferred Membership Interest.

1.39 Substitute Member. An Assignee who has been admitted to
all of the rights of membership pursuant to Section XI hereof.

1.40 Tax Characterization and Additional Tax Terms. It is
intended that the Company be characterized and treated as a
partnership for, and solely for, federal, state and local income
tax purposes. For such Purpose, (i) the Company shall be subject to
all of the provisions of Subchapter K of Chapter 1 of Subtitle A of
the Code, (ii} all references to a "Partner," to "Partners" and to
the Partnership in this Agreement (including the provisions of
Section 7.4 and the provisions of Article VIII) and in the
provisions of the Code and Tax Regulations cited in this Agreement
shall be deemed to refer to a Member, the Members and the Company,
respectively. In addition, the following terms shall have the
following meanings:

{a} Adjusted Capital Account Deficit shall mean, with

respect to any Member, the deficit balance, if any, in such
Member's Capital Account as of the end of the relevant Fiscal Year,
after giving effect to the following adjustments:
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(i) Credit to such Capital Account the minimum gain

chargeback that such Member is deemed to be obligated to restore
pursuant to the penultimate sentences of Section 1.704-2(g} (1) and
1.704-2 (i) (5) of the Tax Regulations; and

{ii) Debit to such Capital Account the items
described in Sections 1.704-1 (b) (2) (ii) (d) (4), 1.704-
1(b) (2) (Li) (dj) (5), and 1.704-1(b)} (2) (ii) (cd) (6) of the Tax

Regulations.

The foregoing definition of Adjusted Capital Account Deficit is
intended to comply with the provisions of Section 1.704-
1(b) (2) (17) (d} of the Tax Regulations and shall be interpreted
consistently therewith.

{6b} Code shall mean the Internal Revenue Code of 1986.

 

{c) Nonrecourse Deductions has the meaning set forth in

Section 1.704-2(b) (1) of the Tax Regulations.

(dq) Nonrecourse Liability has the meaning set forth in

Section 1.704-2(b)(3) of the Tax Regulations.

(e} Partner Nonrecourse Debt has the meaning set forth

in Section 1.704-2(b} (4) of the Tax Regulation.

{£) Partn onreco e Debt Minim Gain means an

amount, with respect to each Partner Nonrecourse Debt, equal to the
Partnership Minimum Gain that would result if such Partner
Nonrecourse Debt were treated as a Nonrecourse Liability,
determined in accordance with Section 1.704-2(1){3}) aZ the Tax
Regulations.

(g) B hef-Nonrecourse Deductions has the meaning set

forth in Sections 1.704-2(i)(1) and 1.704-2({i1} (2) of the Tax
Regulations.

(h) Partnership Minimum Gain has the meaning set forth

in Sections 1.704-2(b) (2} and 1.704-2(d) of the Tax Regulations.

(i) Profits and Losses shall mean, for each Fiscal Year,

an amount equal to the Company's taxable income or loss for such
Fiscal Year, determined in accordance with Section 703(a) of the

(for this purpose, all items of income, gain, loss, ofr

deduction required to be stated separately pursuant to Section
703 (a) (1) of the Code shall be included in taxable income or loss),
with the following adjustments:

{i} Any income of the Company that is exempt from

federal income tax and not otherwise taken into account in
computing Profits or Losses pursuant to this Section 1.36{i) shall
be added to such taxable income or loss;

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{ii) Any expenditures of the Company described in
Section 705(a) (2) (B) of the Code or treated as Section 705 (a) {2} (B)
of the Code expenditures pursuant to Section 1.704-1(b) (2) (iv) (i)
of the Tax Reguletions, and not otherwise taken into account in
computing Profits or Losses pursuant to this Section 1.39{i) shali
be subtracted from such taxabie income or loss;

(iii) Notwithstanding any other provisions of this
definition, any items which are specially allocated pursuant to
Sections 8.4 or 9.5 shall not be taken into account in computing

profits or Losses.

The amounts of the items of partnership income, gain, loss, or
deduction available to be specially allocated pursuant to Sections
9.4 or 9.5 shall be determined by applying rules analogous to those
set forth in clauses (i) through (iii) above.

(j) Tax Regulations shall mean the federal income tax
regulations promulgated by the United States Treasury Department
under the Code as such Tax Regulations may be amended from time to
time. All references herein to a specific section of the Tax
Regulations shall be deemed also to refer to any corresponding
provision of succeeding Tax Regulations.

1.41 Unit. One of the one hundred units of Membership
Interest that are authorized to be issued under this Agreement.
Each Unit represents a Membership Interest with an Initial Sharing
Ratio of one percent (1%), subject to adjustment as provided

herein.

A Unit is divisible into fractional parts. References to
Onits herein shall be solely for the purpose of certificating the
Membership interests authorized hereunder. Voting, the granting or
withholding of consents or approvals, and allocation of Profits and
Losses and Distributions shall be made pursuant to the applicable
provisions of this Agreement without reference to the number of

“Units held by Members.

ARTICLE II
FORMATION

2.1 Organization. The Members hereby organize the Company as
a New York limited liability company pursuant to the provisions of

the Act.

2.2 Agreement. For and in consideration of the mutual
covenants herein contained and for other good and valuable
consideration, the receipt and sufficiency of which is hereby
acknowledged, the Members executing the Agreement hereby agree to
the terms and conditions of the Agreement, as it may from time to
time be amended. It is the express intention of the Members that
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the Agreement shall be the sole source of agreement of the parties,
and, except to the extent a provision of the Agreement expressly
incorporates federal income tax rules by reference to sections of
the Code oar Tax Regulations or is expressly prohibited or
ineffective under the Act, the Agreement shall govern, even when
inconsistent with, or different than, the provision of the Act or
any other law or rule. To the extent any provision of the Agreement
is prohibited or ineffective under the Act, the Agreement shall he
deemed to be amended to the least extent necessary in order to make
the Agreement effective under the Act. In the event the Act is
subsequently amended or interpreted in such a way to make any
provision of the Agreement that was formerly invalid valid, such
provision shall be considered to be valid from the effective date
of such interpretation or amendment.

2.3 Name. The name of the Company is the name set forth
at the beginning of this Operating Agreement, and ail business of
the Company shall be conducted under that name.

2.4 Term. The Company shall be dissolved and its affairs
wound up in accordance with the Act and the Agreement, unless the
term shall be extended by amendment to the Agreement and the
Articles, or unless the Company shall be sooner dissolved and its
affairs wound up in accordance with the Act or the Agreement. In
all other respects, the term is perpetual.

2.5 Registered Agent and Office. The registered agent
for the service of process and the registered office shall be that
person and location reflected in the Articles. The Members may,
from time to time, change the registered agent or office through
appropriate filings with the Secretary of State of New York. In the
event the registered agent ceases to act as such for any reason or
the registered office shall change, the Members shall promptly
designate a replacement registered agent or file a notice of change
of address as the case may be.

2.6 Principal Office. The Principal Office of the
Company shall be located at 106-16 Jamaica Avenue, Richmond Hill,
New York 11418 ,

2.7 Publication. Within 120 days after the Effective
Date, the Members shall cause a notice containing the substance of
the Articles, in the form required by the Act, to be published once
in each week for six successive weeks in two newspapers of the
county in which the Principal Office is located.

ARTICLE III
PURPOSE; NATORE OF BUSINESS

The business purpose of the Company is to engage in any and all
business activities permitted under the laws of the State of New

 
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York, including but not limited to the operation and management of
real property.

The Company shall have the authority to do all things necessary or
convenient to accomplish its purpose and operate its business as
described in this Article III. The Company exists only for the
purpose specified in this Article III, and may not conduct any other
business without the unanimous consent of the Members. The
authority granted to the Members hereunder to bind the Company shall
he limited to actions necessary or convenient to this business.

ARTICLE IV
ACCOUNTING AND RECORDS

4.1 Records to be Maintained. The Company shall maintain the
following records at the Principal Office:

{a) a current list of the full name set forth in
alphabetical order and last known mailing address of each Member,
together with the information set forth on Schedule A relating to
each Member's Initial Capital Contribution, number of Units,
Membership Interest and Sharing Ratio;

(b) a copy of the Articles and all amendments thereto,
together with executed copies of any powers of attorney pursuant to
which the Articles or any such amendment has been executed;

({c) a copy of the Company's federal, state and local
income or information tax returns and reports for the three most
recent Fiscal Years;

(qd) a copy of this Agreement including all amendments
thereto; and

(e) the Company's books and records, including financial
statements of the Company, which shall be open to inspections by the
Members or their agents at reasonable times.

4.2 Reports to Members. The Company shall provide reports,
including a balance sheet.

4.3 Tax Returns and Reports. The Members, at Company expense,
shall prepare and timely file income tax returns of the Company in
ail jurisdictions where such filings are required, and the Company
shall prepare and deliver to each Member, within ninety {90} days
after the expiration of each Fiscal Year, and at Company expense,
all information returns and reports required by the Code and Tax
Regulations and Company information necessary for the preparation
of the Members' federal income tax returns.
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ARTICLE V
NAMES AND ADDRESSES OF MEMBERS

The names and addresses of the Members are as stated on Schedule A.

ARTICLE VI
RIGHTS AND DUTIES OF MEMBERS

6.1 Management Rights, No member other than the Managing

Member shall have authority to bind the Company on any Management
Right except that the following actions shall require the Majority
consent of all of the Members:

( a) the sale of Company Property other than in the

ordinary course of business;

( b) the merger or consolidation of the Company with any

other Person;

( ¢c) the continuation of the Company after a Dissolution

Bvent;

{ d) the borrowing of funds or the Pledging, mortgaging

or otherwise encumbering of any Company Property, except in the
ordinary course of business.

{ @) the requirement that Additional Contributions be

made.

( £) the selection of the Company’s regularly engaged

accountants;

and the following actions shall require the consent of sixty-six and
two-thirds (66 2/3 %) percent of all Members:

(a) any amendment to the Agreement or to the Articles;

(b) the payment of compensation to the Managing Members;

{c) the admission of a new Member.

6.2 Liability of Members. No Member shall be liable as such

for the liabilities of the Company.

6.3 Indemnification. A Member shall indemnify the Company for

any costs or damages incurred by the Company as a result of any
unauthorized action by such Member.

6.4 Representations and Warranties. Each Member, and in the

 
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case of a trust or other entity, the person(s) executing the
Agreement on behalf of the entity, hereby represents and warrants
to the Company and each other Member that: (a) if the Member is an
entity, it has power to enter into the Agreement and to perform its
obligations hereunder and that the person(s) executing the Agreement
on behalf of the entity has the power to do so; and {b) the Member
is acquiring its interest in the Company for the Member's own
account as an investment and without an intent to distribute the
interest. The Members acknowledge that their interests in the
Company have not been registered under the Securities Act of 1933
or any state securities laws, and may not be resold or transferred
without appropriate registration or the availability of an exemption
from such requirements.

6.5 Conflicts of Interest/Confidentiality.

(a) David Gitman and Michael Dardashtian shall not be

entitled to enter into transactions that may be considered to be
competitive with the Company and agree that during the term of this
Agreement and for a period of twenty-four (24) months following the
termination of this Agreement, they shall not be engaged in any
business, whether internet based or of a traditional brick and
mortar type that is competitive with the Company without the express
written permission of the Majority of the Members of the Company.
If such competitive business is of a traditional brick and mortar
type,
located outside of the City of New York or Nassau and Suffolk
counties or the District of Columbia or Prince Georges County in

Maryland.

such business will not be considered competitive if it is

{b) A Member, including a Managing Member, does not

violate a duty or obligation to the Company merely because the
Member's conduct furthers the Member's own interest. A Member may
lend money to and transact other business with the Company. The
rights and obligations of a Member who lends money to or transacts
business with the Company are the same as those of a person who is
not a Member, subject to other applicable law. No transaction with
the Company shall be voidablie solely because a Member has a direct
or indirect interest in the transaction if the transaction is fair
and reasonable to the Company.

(c} David Gitman and Michael Dardashtian agree that all

Confidential Information they receive while Members of the Company
shall be maintained by them in the strictest of confidence, to be
used only in connection with the operation of the Company and for
no other purpose, including, but not limited to the retail or
wholesale distribution or sale of auto parts, whether through
internet based oz through a traditional brick and mortar locations,
unless with the express written permission of the Majority of the
Members of the Company. For purposes of this Agreement,
Confidential Information shall mean information which is non-public,

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confidential or proprietary in nature.

ARTICLE VII
MANAGING MEMBER

7.1 Managing Member. Except as otherwise provided in the

Agreement, the management of the Company and all decisions
concerning the daily business affairs of the Company shall be made
by the Managing Member. The Managing Members shall be: Cooper
Square Ventures, LLC, the Members of which must be only David Gitman
or Michael Dardashtian or either of them and no other natural
persons or entities unless agreed to by the Majority Members.

7.2 Texm of Office as Managing Member. Each Managing Member

shall serve until the Dissociation of such Managing Member or any
removal of such Managing Member pursuant to Section 7.8.

7.3 Authority of Managing Member ta Bind the Company. Only

the Managing Members and authorized agents of the Company shall have
the authority to bind the Company. Subject to Section 6.1, the
Managing Members have the power, on behalf of the Company, to do all
things necessary or convenient to carry out the daily business and
affairs of the Company (as descxibed in Article III), including:

(x) the establishment of the Company's offices;

ty) the hiring and appointment of employees and agents

of the Company, the defining of their duties and the establishment
of their compensation, and the dealing with tradespeople on such
terms as the Managing Members shall determine;

tz) the purchase of liability and other insurance to

protect the Company's business and Property;

but shall specifically not include the following, which shall be
decided by a Majority of the Members:

(a) the institution, prosecution and defense of any

Proceeding in the Company's name;

(b) the purchase, receipt, lease or other acquisition,

ownership, holding, improvement, use and other dealing with Real
Property, wherever located;

{ce} the sale, conveyance, mortgage, pledge, lease,

exchange, and other disposition of Property, except in the ordinary
course of business of the Company;

{d) the entering into of contracts and guaranties

involving greater than §$ 50,000.00 either singly or cumulatively,

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incurring of liabilities; borrowing of money, issuance of notes,
bonds, and other obligations, and the securing of any of its
obligations by mortgage or pledge of any of its Property ar income;

(e} the lending of money, investment and reinvestment of

the Company' s funds, and receipt and holding of Property as security
for repayment;

(£) the payment of pensions and establishment of pension

plans, pension trusts, profit sharing plans, and benefit and
incentive plans for Members, employees, and agents of the Company;

(g} the participation in partnership agreements, joint

ventures, or other associations of any kind with any entity, person
Or persons;

(h) the indemnification of any Person;

(i) the making of such elections under the Code and Tax

Regulations and other relevant tax laws as to the treatment of items
of Company income, gain, loss, deduction and credit, and as to all
other relevant matters as the Managing Member deems necessary or
appropriate, including without limitation, elections referred to in
Section 754 of the Code, the determination of which items of cash
outlay shail be capitalized or treated as current

expenses, and the selection of the method of accounting and
bookkeeping procedures to be used by the Company.

7.4 Actions of the Managing Member. The Managing Member has

the power to bind the Company as provided in this Article VII. No
Person dealing with the Company shall have any obligation to inquire
into the power or authority of the Managing Member acting on behalf
of the Company. If there is more than one Managing Memberx, the
Managing Members shall manage the Company by the affirmative vote
of all the Managing Members.

7.5 Compensation of Managing Member. The Managing Member

shall be reimbursed for ail reasonable expenses incurred in managing
the Company and shall not be entitled to compensation, unless a
Majority of all of the Members’ consent thereto. The Managing
Members shall be required to devote full time to the management of
the Company business for the proper management of such business and
be the principal activity that the Managing Members are engaged in.

David Gitman and Michael Dardashtian shall each receive a

salary from the Company of 51,000.00 per week, which shall begin on:
November 1, 2011.

7.6 Managing Member's Standard of Care. Each Managing Member

shall discharge the Managing Member's duties to the Company and the

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other Members in good faith and with that degree of care that an
ordinarily prudent person in a similar position would use under
similar circumstances, recognizing he or she is acting on behalf of
all Members in the nature of a fiduciary. In discharging its duties
and obligations, as set for in section 7.7, a Managing Member shall
be fully protected in relying in good faith upon the records
required to be maintained under Article IV and upon such
information, opinions, reports or statements by ‘any Person as to
matters the Managing Member reasonably believes are within such
other Person's professional or expert competence and who has been
selected with reasonable care by or on behalf of the Company,
including information, opinions, reports or statements as to the
valine and amount of the assets, liabilities, profits or losses of
the Company or any other facts pertinent to the existence and amount
‘of assets from which Distributions to Members might properly be
paid. The Company shall indemnify and hold harmless each Managing
Member against any loss, damage or expense {including attorneys’
fees) incurred by the Managing Member as a result of any act
performed or omitted on behalf of the Company or in furtherance of
the Company's interests without, however, relieving the Managing
Member of liability for failure to perform his or her duties in
accordance with the standards set forth herein. The satisfaction
of any indemnification and any holding harmless shali be from and
limited to Company Property and the other Members shall not have any
personal liability on account thereof.

7.7 Authority of the Managing Members. the Managing Members

shall have full and complete charge of all daily affairs of the
Company, its management and control, subject to the texoms and
conditions of this Agreement. Except as otherwise prohibited by law
or by this Agreement, the Managing Members shall continue to possess
all of the rights and powers of a member in a limited liability
company under the laws of the State of New York.

Notwithstanding anything contained herein to the contrary,

all decisions concerning the affairs of the Company and its
management and control shall be made by the unanimous consent of all
Managing Members if there be more than one (1) Managing Member. The
preceding sentence shall not apply, however, in the evant that the
Managing Members unanimously designate one (1) of the Managing
Members to serve as the Managing Member. in such event, the
Managing Members shall have the exclusive control and management of
the day-to-day operation of the Company business. The Managing
Member shall continue to serve as such for as long as he or she
shall have the unanimous consent of the Managing Members.

7.8 Resignation; Removal of Managing Member. The Managing

Member shall have a right to resign upon sixty (60) days’ notice to
the Company, and may be removed as Managing Members by a Majority
vote of the Members only for cause which for purposes of this

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Agreement shall be defined to mean gress misconduct injurious to the
Company, @ Willful failure to perform their duties or the conviction

of a crime.

ARTICLE VIII
CONTRIBUTIONS AND CAPITAL ACCOUNTS

B.1 QXnitial Contributions. Each Member shall make the Initial

Capital Contribution described for that Member on Schedule A at the
time and on the temns specified in Schedule A and shall perform that
Member's Commitment, and shall receive the number of Units of
Membership Interest and Sharing Ratio described for that Member on
Schedule A. The Managing Member shall issue certificates
representing the Units subscribed for by the Members. No Member
shall have the right to withdraw or be repaid any Capital
Contribution except as provided in the Agreement.

§.2 Additional Contributions. In addition to the Initial

Capital Contributions, the Members shall make such Additional
Contributions as the Majority of the Members shall vote, from time
to time. However, no additional capital contributions shall be
required until the following is done by the Company:

(a) make reasonable attempts to borrow the amount of

additional funds determined needed by the Majority and then

(b) allow each Member the opportunity to lend to the

Company additional funds determined by the Majority to be necessary
as provided in paragraph 6.3.

8.3 Enforcement of Commitments. In the event any Member fa

Delinquent Member) fails to perform the Delinquent Member's
obligation to commit additional capital pursuant to section 8.2
above, the other Members shall give the Delinquent Member a notice
of such failure. If the Delinquent Member fails to perform the
Commitment (including the payment of any costs associated with the
failure and interest at the Default Interest Rate) within ten
Business Days of the giving of such notice, the other Members may

reduce the number of wnits and sharing ratio of the non-
contributing partner and increase the number of units and sharing
ratio of the contributing member by a percentage equal to the
fraction, the numerator of which is the capital advanced by the
contributing member and the denominator of which is the total
capital contributions contributed by all Members since inception of
the Company.

In the event the Delinguent Member fails to meet = such

Commitments, the other Members may elect to lend additional money
to the Company at an interest rate equal to the Prime Rate of
JPMorgan Chase in effect at the time the loan is outstanding, as

adjusted monthly.

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8.4 Capital Account. A separate capital account shall be

maintained for each Member throughout the term of the Company in
accordance with the rules of Section 1.704- 1(b) (2) (iv) of the Tax
Regulations as in effect from time to time, and, to the extent not
inconsistent therewith, to which the following provisions apply:

{a) To each Member's Capital Account there shall be

credited (i} the amount of money contributed by such Member to the
Company (including liabilities of the Company assumed by such Member
as provided in Section 1.704-1(b) (2) (iv) {c) of the Tax Regulations);

the fair market value of any property contributed to the

Company by such Member (net of liabilities secured by such
contributed property that the Company is considered to assume or
take subject to under Section 752 of the Code}; and (iii) such
Member's share of Profits and items of income and gain that are
specially allocated.

{b} To each Member's Capital Account there shall be

debited (i) the amount of money distributed to such Member by the
Company (including liabilities of such Member assumed by theCompany
as provided in Section 1.704-1(b) (2} (iv) (c) of the Tax Regulations)
other than amounts which are in repayment of debt obligations of the
Company to such Member; (ii) the fair market value of property
distributed to such Member (met of liabilities secured by such
distributed property that such Member is considered to assume or
take subject to under Section 752 af the Code}; and (iii) such
Member's share of Losses or items of loss or deduction that are
specificaily allocated.

{c) The Capital Account of a transferee Member shall

include the appropriate portion of the Capital Account of the Member
from whom the transferee Member's interest was obtained.

{d) In determining the amount of any liability, there

shall be taken into account Section 752(c) of the Code and any other
applicable provisions of the Code and Tax Regulations.

The foregoing provisions and the other provisions of this Aqreement
relating to the maintenance of Capital Accounts are intended to
comply with Section 1.704-1(b) of the Tax Regulations, and shall be
interpreted and applied in a manner consistent with such Tax
Regulations. In the event the Members shall determine that it is
prudent to modify the manner in which the Capital Accounts, or any
debits or credits thereto (including, without limitation, debits or
credits relating to liabilities that are secured by contributed or
distributed property or that are assumed by the Company or any
Member), are computed in order to comply with such Tax Regulations,
the Members may make such modification, provided that it is not
likely to have a material effect on the amounts distributable to any
Member pursuant to Article XII hereof upen the dissolution of the

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Company. The Members also shall (i) make any adjustments that are
necessary or appropriate to maintain equality between the Capital
Accounts of the Members and the amount of Company capital reflected
on the Company's balance sheet, as computed for book purposes, in
accordance with Section 1.704-1(b)} (2) (iv) (g) of the Tax Regulations

(ii) make any appropriate modifications in the event

unanticipated events might otherwise cause this Agreement not to
comply with Section 1.704-1(b) of the Tax Regulations.

8.5 No Obligation to Restore Deficit Balance. Except as

required by law, no Member shall be required to restore any deficit
balance in its Capital Account.

8.6 Withdrawal; Successors. A Member shall not be entitled to

withdraw any part of its. Capital Account or to receive any
distribution from the Company, except as specifically provided in
the Agreement, and no Member shall be entitled to make any capital
contribution to the Company other than the Commitments. Any Member,
including any additional or Substitute Member, who shall receive an
interest in the Company or whose interest in the Company shall be
increased by means of a transfer to it of all or part of the
interest of another Member, shall have a Capital Account with
respect to such interest initially equal to the Capital Account with
respect to such interest of the Member from whom such interest is
acquired except as otherwise required to account for any step up in
basis resulting from a termination of the Company under Section 708
of the Code by reason of such interest transfer. ’

8.7 Interest. No Member shall be entitled to interest on such

Member's Capital Contribution or on any Profits retained by the
Company.

8.8 Investment of Capital Contributions. The Capital

Contributions of the Members shall be invested in demand, money
market or time deposits, obligations, securities, investments or
other instruments constituting cash equivalents, until such time as
such funds shall be used for Company purposes. Such investments
shall be made for the benefit of the Company.

8.9 No Personal Liability. No Member shall have any personal

liability for the repayment of any Capital Contributions of any
Member.

ARTICLE IX
ALLOCATIONS AND DISTRIBUTIONS

9.1 Profits and Losses. Profits and Losses, and each item of

Company income, gain, loss, deduction, credit and tax preference
with respect thereto, for each Fiscal Year {or shorter period in
respect of which such Items are to be allocated) shall be allocated
among the Members as provided in this Article Ix.

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9.2 Profits. After giving effect to the special allocations

set forth in Sections 9.4 and 9.5, Profits for any Fiscal Year shall
be allocated in the following order of priority:

(a) First, to the Members, if any, who received any

allocation of Losses under Section 9.3(c), in proportion to (and to
the extent of) the excess, if any, of (i) the cumulative Losses
allocated to such Members pursuant to Section 9.3(c) for all prior
Fiscal Years, over (ii) the cumulative profits allocated to such
Members pursuant to this Section 9.2(a) for all prior Fiscal Years;

(b}) Second, to the Members, in proportion to (and to the

extent of) the excess, if any, of (i} the cumulative Losses
allocated to each Member pursuant to Section 9.3(b) hereof for all
prior Fiscal Years, over (ii) the cumulative Profits allocated to
Bach Member pursuant to this Section 9.2(b) for all prior Fiscal

Years;

(c) Third, to the Members, in proportion to (and to the

extent of) the excess, if any, of {i) the cumulative Losges
allocated to each Member pursuant to Section 9.3(a) (ii} hereof for
all prior Fiscal Years, over (ii) the cumulative Profits allocated
te such Member pursuant to this Section 9.2(c) for all prior Fiscal
Years;

{d) Fourth, the balance of the Profits remaining, if any,

among the Members, pro rata, in proportion to their respective
Sharing Ratios.

te) Notwithstanding the provisions of Section 9.2 and 9.3,

David Gitman and Michael Dardashtian together, or an entity formed
by them, shall receive an allocation of profits and losses equal to
sixty-six and two thirds (66 2/3%) pexcent during the initial
twenty-four (24) months of the term of this Agreement and thereafter
fifty (50%) percent of profits or losses for each month thereafter.

' Notwithstanding the above [entity to be formed]

agrees to lend to the Company its share of its allocated profit
{less taxes due thereon) earned during the first twenty-four months
of operation of the Company, without interest.

9.3 Losses. After giving effect to the special allocations set

forth in Sections 9.4 and 9.5, Losses shall be allocated as set
forth in Section 9.3(a), subject to the limitation in Section 9.3(b}
below, and, if applicable, as provided in Section 9.3(c).

{a} Losses for any Fiscal Year shall be allocated in the

following order of priority:

(i) first, to the Members in proportion to and to the

extent of the excess, if any, of {A} the cumulative Profits

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allocated to each such Partner pursuant to Section 9.2{d) hereof for
all prior Fiscal Years, over B) the cumulative Losses allocated to
such Partner pursuant to this Section 9.3(a) (i) for all prior Fiscal
Years; and

{ii} the balance, if any, among the Members in

proportion to their respective Sharing Ratios.

(b) The Losses allocated pursuant to Section $.3(a) hereof

shail not exceed the maximum amount of Losses that can he so
allocated without causing any Member to have an Adjusted Capital
Account Deficit at the end of any Fiscal Year. 1n the event some,
but not all, of the Members would have Adjusted Capital Account
Deficits as a consequence of an allocation of Losses pursuant to
Section 9.3(a) hereof, the limitation set forth in this Section
9.3(b) shall be applied on a Member by Member basis so as to
allocate the maximum permissible Losses to the Members under Section
1.704-L{b} (2) (ii) (d) of the Tax Regulations.

(c) In the event that there are any remaining Losses in

excess of the limitations set forth in Section 9.3(b}), such
remaining Losses shall be allocated among the Members in proportion
to their respective Sharing Ratios.

8.4 Special Allocations. The following special allocations

shall be made in the following order:

(a) Minimum Gain Chargeback, Except as otherwise provided

in the Tax Regulations, notwithstanding any other provision of this
Article VIII, if there is a net decrease in Partnership Minimum Gain
during any Fiscal Year, each Member shall be specially allocated
items of Company income and gain for such Fiscal Year (and, if
necessary, subsequent Fiscal Years) in an amount equal to such
Member's share of the net decrease in Partnership Minimum Gain,
determined in accordance with Section 1.704-2(g) of the Tax
Regulations. Allocations pursuant to the previous sentence shall be
made in proportion to the respective amounts required to be
allocated to each Member pursuant thereto. The items to be so
allocated shall be determined in accordance with Sections 1.704-
2(£)(6} and 12.704-2(3) (2) of the Tax Regulations. This Section
9.4(a) is intended to comply with the minimum gain chargeback
requirement in Section 1.704-2(f): of the Tax Regulations and shall
be interpreted consistently therewith.

(b) Partner Minimum Gain Chargeback. Except as otherwise

provided in Section 1.704- ~2 (i) (4) of the Tax Regulations,
notwithstanding any other provision of this Article VIII, if there

a net decrease in Partner Nonrecourse Debt Minimum Gain

attributable to a Partner Nonrecourse Debt during any Fiscal Year,
each Member whe has a share of the Partner Nonrecourse Debt Minimum
Gain attributable to such Partner Nonrecourse Debt, determined in

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accordance with Section 1.704-2(i) (5) of the Tax Regulations, shall
be specifically allocated items of Company income and gain for such
Fiscal Year (and, if necessary, subsequent Fiscal Years) in an
amount equal to such Member's share of the net decrease in Partner
Nonrecourse Debt Minimum Gain attributable to such Partner
Nonrecourse Debt, determined in accordance with Section 1.704-
2(i) (4) of the Tax Regulations. Allocations pursuant to the previous
sentence shall be made in proportion to the respective amounts
required to be allocated to each Member pursuant thereto. The items
to be so allocated shall be determined in accordance with Sections
1.704-2(i) (4) and 1.704-2(45) (2) of the Tax Regulations. This Section
9.4(b) is intended to comply with the minimum gain chargeback
requirement in Section 1.704-2{1)(4} of the Tax Regulations and
shall be interpreted consistently therewith.

(c) Qualified Income Offset. In the event any Member

unexpectedly receives any adjustments, allocations, or distributions
described in Section 1.704- l(b} (2} (ii) (a) (4), Section 1.704-
1(b) (2) (42) (d) (5), ox Section 1.704-1(b) (2) (ii) (d) (6) of the Tax
Regulations, items of Company income and gain shall be specially
allocated to the Member in an amount and manner sufficient to
eliminate, to the extent required by the Tax Regulations, the
Adjusted Capital Account Deficit of the Member as quickly as
possible, provided that an allocation pursuant to this Section
9.4{c) shall be made only if and to ‘the extent that the Member would
have an Adjusted Capital Account Deficit after all other allocations
provided for in this Article IX have been

tentatively made as if this Section 9.4(c) were not in this

Agreement -

(a) Gross Income Allocation. In the event any Member has

a deficit Capital Account at the end of any Fiscal Year which is in
excess of the sum of the amounts such Member is deemed to he
obligated to restore pursuant to the penultimate sentences of
Sections 1.704-2(g) (1) and 1.704-2(i) (5) of the Tax Regulations,
each such Member shall be specially allocated items of Company
income and gain in the amount of such excess as quickly as possible,
provided that an allocation pursuant to this Section 9.4(d) shali
be made oniy if and to the extent that such Member would have a
deficit Capital Account in excess of such sum after all other
allocations provided for in this Article IX have been made as if
Section 9.4(c) and this Section 9.4(d) were not in this Agreement.

{e) Nonrecourse Deductions. Nonrecourse Deductions for any

Fiscal Year shall be specially allocated among the members in
proportion to their Sharing Ratios.

{£} Partner  Nonrecourse Deductions. Any Partner

Nonrecourse Deductions for any Fiscal Year shall be specially
allocated to the Member who bears the economic risk of loss with
respect to the Partner Nonrecourse Debt to which such Partner
Nonrecourse Deductions are attributable in accordance with Section

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1.704-2 (1) {1) of the Tax Regulations.

{g) Mandator llogations Under Section 704ic) of the

Code. Notwithstanding the foregoing provisions of this Section 4.4,
in the event Section 704(c) of the Code or Section 704(c) of the
Code principles applicable under Section 1.704~1(b) (2) {iv} of the
Tax Regulations require allocations of Profits or Losses in a manner
different than that set forth above, the provisions of Section
704(c) of the Code and the Tax Regulations thereunder shall control
such allocations among the Members. Any item of Company income,
gain, loss and deduction with respect to any property (other than
cash) that has been contributed by a Member to the capital of the
Company or which has been revalued for Capital Account purposes
pursuant to Section 1.704-1(b) (2) {iv) of the Tax Regulations) and
which is required or permitted to be allocated to such Member for
income tax purposes under Section 704(c) of the Code so as to take
into account the variation between the tax basis of such property
and its fair market value at the time of its contribution shall be
allocated solely for income tax purposes in the manner so required
or permitted under Section 704{c) of the Code using the "traditional
method" described in Section 1.704-3(b) of the Tax Regulations;
provided, however, that curative allocations consisting of the
Special allocation of gain or loss upon the sale or other
disposition of the contributed property shall be made in accordance
with Section 1.704-3{c} of the Tax Regulations to the extent
necessary to eliminate any disparity, to the extent possible,
between the Members!’ book and tax Capital Accounts attributable to
such property; further provided, however, that any other method
allowable under applicable Tax Regulations may be used for any
contribution of property as to which there is agreement between the
contributing Member and the other Members.

9.5 Curative Allocations. The allocations set forth in

Sections 9.4 {a) through (gq) (the "Regulatory Allocations") are
intended to comply with certain requirements of the Tax Regulations.
It is the intent of the Members that, to the extent possible, all
Regulatory Allocations shall be offset either with other Regulatory
Allocations or with special allocations of other items of Company
income, gain, loss, or deduction pursuant to this Section 9.5.
Therefore, notwithstanding any other provision of this Article IX
{other than the Regulatory Allocations}, the Members shall make such
offsetting special allocations of Company income, gain, loss, or
deduction in whatever manner it determines appropriate so that,
after such offsetting allocations are made, each Member's Capital
Account balance is, to the extent possible, equal to the Capital
Account balance such Member would have had if the Regulatory
Allocations were not part of this Agreement and all Company items
were allocated pursuant to Sections 9.2 and 9.3. The Members {i)
shall take into account future Regulatory Allocations under Sections
9.4(a}) and 9.4{b) that, although not yet made, are likely to offset
other Regulatory Allocations previously made under Sections 9.4 (e)

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and 9.4(f£) and (ii) may reallocate Profits and Losses for prior open
years (or items of gross income and deduction of the Company for
such years) among the Members to the extent it is not possible to
achieve such result with allocations of items of income (inciuding
gross income) and deduction for the current year and future years.
This Section 9.5 shall control notwithstanding any reallocation or
adjustment of taxable income, taxable loss, or items thereof by the
Internal Revenue Service or any other taxing authority.

9.6 Other Allocation Rules.

(a) For purposes of determining the Profits, Losses, or

any other item allocable to any period (including allocations to
take into account any changes in any Member's Sharing Ratio during
a Fiscal Year and any transfer of any interest in the Company},
Profits, Losses, and any such other item shall be determined on a
daily, monthly, or other basis, as determined by the Members using
any permissible method under Section 706 of the Code and the Tax
Regulations thereunder.

(b) The Members are aware of the income tax consequences

of the allocations made by this Article IX and hereby agree to be
bound by the provisions of this Article IX in reporting their shares
of Company income and loss for income tax purposes.

(c) Solely for purposes of determining a Member's

proportionate share of the "excess nonrecourse liabilities of the
partnership within the meaning of Section 1.752-3(a) (3) of the Tax
Regulations, the Members’ interests in Company Profits are in
proportion to their Sharing Ratios.

(dq) To the extent permitted by Section 1.704-2(h) (3) of
Tax Regulations, the Members shall endeavor to treat

distributions of Net Cash Flow as having been made from the proceeds
of a Nonrecourse Liability or a partner Nonrecourse Debt only to the
.@atent that such distributions would cause or increase an Adjusted
Capital Account Deficit for any Partner.

{e) Except as otherwise provided in this Article Ix, an

allocation of Company Profits or Losses to a Member shall be treated
as an allocation to such Member of the same share of each item of
income, gain, loss and deduction taken into account in computing
such Profits or Losses.

(f) For purposes of determining the character {as

ordinary income or capital gain) of any profits allocated to the
Members pursuant to this Article Ix, such portion of profits that
is treated as ordinary income attributable to the recapture of
depreciation shall, to the extent possible, be allocated among the
Members in the proportion which (i) the amount of depreciation
previously allocated to each Member bears to (ii) the total of such

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depreciation allocated to all Members. This section 9.6(f] shall not
alter the amount of allocations among the Members pursuant to this
Article IX, but merely the character of income so allocated.

{g) Except for arrangements expressly described in this
Agreement, no Member shall enter into (or permit any Person related
to the Member to enter into) any arrangement with respect to any
liability of the Company that would result in such Member (or a
person related to such Member under Section 1.752-4(b} of the Tax
Regulations} bearing the economic risk of loss (within the meaning
ef Section 1.752-2 of the Tax Regulations} with respect to such
liabilities unless such arrangement has been approved by all
Members. To the extent a Member is permitted to guarantee the
repayment of any Company indebtedness under this Agreement, each of
the other Members shall be afforded the opportunity to guarantee
such Member's pro rata share of such indebtedness, determined in
accordance with the Members' respective Sharing Ratios.

9.7 Minimum 1% Interest of Managing Member. Notwithstanding
anything in this Article IX, the Managing Member shall at all times
during the existence of the Company have a minimum 1% allocation of
each material item of income, gain, loss, deduction and credit of

the Company.

9.8 Distribution of Net Cash Flow. {a} Amounts and Timing. Net
Cash Flow shall be distributed to the Members:‘in proportion to their
respective shares of Profits allocated to each of them for such
period (and prior periods) under Section 9.3, to the extent that
such amounts have not been distributed previously under this Section
9.7. Such distributions shall be made within 90 days of the end of
each Fiscal Year to those persons recognized on the books of the
Company as Members or as Assignees on the last day of such Fiscal

Year.

(b) Amounts Withheld. All amounts withheld pursuant to
the Code and Tax Regulations or any provision of any state or local
tax law with respect to any payment, distribution, or allocation to
the Company or the Members shail be treated as amounts distributed
to the Members pursuant to this Section 9.7 for all purposes under
this Agreement. The Members are authorized to withhold from
distribution, or with respect to allocations, to the Members and to
Pay over to any federal, state, or local government any amounts
required to be so withheld pursuant to the Code and Tax Regulations
or any provision of any other federal, state, or local law, and
shall allocate any such amounts to the Members with respect to which
such amount was withheld. ,

(c) Draws for Members. The Company may pay to each Member
a quarterly draw, to be unanimously determined by a Majority of the
Members, and each such draw, if any, shall be treated as a loan from
the Company to each Member receiving such draw and shall be deemed

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repaid by reducing the amount of each subsequent distribution to the
Member receiving such draw pursuant to this Section 9.7{c} by the
lesser of (a) the entire amount otherwise distributable to the
Member receiving such draw and (b) the entire amount of any unrepaid
draws pursuant to this Section 9.7(c). All draws hereunder shall be
made to the Members pro rata based on their estimated respective
shares of Profits allocated to each of them for such Fiscal Year
under this Article VIII. Any draw by any Member made pursuant to
this Section 9.7(c) shall not result in any decrease in the Sharing
Percentage of such Member.

ARTICLE X
TAKES

10. 1 Tax Matters Partner. The Managing Members shall be

the Tax Matters Partner of the Company pursuant to Section
6231(a) (7} of the Code. Such Managing Member shall not resign as the
Tax Matters Member unless, on the effective date of such
resignation, the Company has designated another Member as Tax
Matters Member and such Member has given its consent in writing to
its appointment as Tax Matters Member. The Tax Matters Member shall
receive no additional compensation from the Company for its services
in that capacity, but all expenses incurred by the Tax Matters
Member in such capacity shall be borne by the Company. The Tax
Matters Member is authorized to employ such accountants, attorneys
and agents as it, in its sole discretion, determines is necessary
to or useful in the performance of its duties. In addition, such
Member shall serve in a similar capacity with respect to any similar
tax related or other election provided by state or local laws.

10.2 Mandatory Section 754 Election. Upon a transfer by a

Member of an interest in the Company, which transfer is permitted
by the terms of this Agreement, or upon the death of a Member or the
distribution of any Company Property to one or more Members, the
Members, upon the request of one or more of the transferees or
distributees, shall cause the Company to file an election on behalf
of the Company, pursuant te Section 754 of the Code, to cause the
basis of the Company's property to be adjusted for federal income
tax purposes in the manner prescribed in Section 734 or Section 743
of the Code,. as the case may be. The cost of preparing such
election, and any additional accounting expenses of the Company
occasioned by such election, shall be borne by such transferees or

distributees.

ARTICLE XI
DISPOSITION OF MEMBERSHIP INTERESTS

 

11.1 Disposition. Except as set forth in this Article XI, no

Member or Assignee may Transfer all or a portion of the Member's or
Assignee's Membership Interest.

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11.2 Dispositions not in Compliance with is Artic Void.

Except as expressly permitted or required by this Agreement, no
Member or Assignee shall Transfer all or any portion of his
Membership Interest in the Company or any rights therein without the
consent of a Majority. Any Transfer or attempted Transfer by any
Member or Assignee in violation of the preceding sentence shall be
null and void and of no force or effect whatsoever.

11.3 Restrictions on Transfers. Bach Member hereby acknowledges

the reasonableness of the restrictions on Transfer imposed by this
Agreement in view of the Company's purposes and the relationship of
the Members. Accordingly, the restrictions on Transfer contained
herein shall be specifically enforceable. Bach Member hereby further
agrees to hold the Company and each Member (and each Member's
successors and assigns) wholly and completely harmless from any
cost, liability, or damage (including, without Limitation,
liabilities for income taxes and costs of enforcing this indemnity)
incurred by any of such indemnified Persons as a result of a
Transfer or an attempted Transfer in violation of this Agreement.

11.4 Permitted transfers.

 

(a) General. A Member or Assignee shall have the right to

Transfer all or any portion of his Membership Interest only by means
of a Permitted Transfer.

{b) Definition of Permitted Transfer; Permitted Transferees.

(i} A "Permitted Transfer" is any Transfer by a

Member or Assignee of all of that Member's Membership Interest to
Permitted Transferee provided that such Transfer otherwise
complies with the conditions and restrictions of this Article XI.

(ii) A “Permitted Transferee" of a Member ‘or Assignee

is any Person who is (1) another Member of the Company, (2) any
other Person approved as a Permitted Transferee by the consent of
a Majority or (3) permitted to receive a Membership Interest
Pursuant to Sections 11.6, 11.7, 11.8 or 11.9 hereof.

c} Conditions to Permitted Transfers. A Transfer

otherwise permitted as a Permitted Transfer under this Section shall
not be a valid Transfer of a Membership Interest and shall be
considered null and void unless and until the following conditions
are satisfied:

(i) The transferor and transferee shall execute such

documents and instruments of conveyance and assumption as may be
necessary ox appropriate in the opinion of counsel to the Company
to effect such Transfer and to confirm the Permitted Transferee's
agreement to be bound by the provisions of this Agreement and
assumption of all monetary obligations of the transferor Member with

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respect to the Membership Interest being transferred and the
transferor Member's agreement to guarantee the prompt payment and
performance of such assumed. obligations.

(ii) The transferor and transferee shall furnish the

Company with the transferee's taxpayer identification number,
sufficient information to determine the transferee's initial tax
basis in the Membership Interest Transferred, and any other
information reasonably necessary to permit the Company to file all
required Federal and state tax returns and other legally required
information statements or returns. Without limiting the generality
of the foregoing, the Company shall not be required to make any
Distribution otherwise provided for in this Agreement with respect
to any Transferred Membership Interest until it has received such
information.

(iii) Except as otherwise specifically provided, a

Member making a Permitted Transfer of all of his Membership Interest
and the Permitted Transferee thereof shall pay all reasonable costs
and expenses incurred by the Company in connection with such
Transfer.

{iv} In the opinion of tax counsel to the Company,

the transfer of the Membership Interest shall have no adverse tax
consequences for the Company.

{d} Admission of Permitted Transferee as a Member. A Permitted

Membership Interest can be transferred to a Member in the Company
only upon the consent of a Majority. The rights of a Permitted
Transferee who is not admitted as a Member shall be limited to the
right to receive allocations and Distributions from the Company with
respect to the Membership Interest Transferred, as provided by this
Agreement. The transferee of such Membership Interest shall not be
a Member with respect to such Membership interest, and, without
limiting the foregoing, shall not have the right to inspect the
Company's bocks, act for or bind the Company, or otherwise interfere
in its operations.

{e) Effect of Permitted Transfer on Company. The Members intend

that the Permitted Transfer of a Membership Interest in the Company
shall not cause the dissolution of the Company under the Act;
however, notwithstanding the occurrence of any such dissolution, the
Members shall continue to hold the Company's assets and operate its
business in Company form under this Agreement as if no such
dissolution had occurred.

11.5 Distribution Among Members. If a Permitted Transfer of a

Membership interest occurs during any Fiscal Year, any Net Profits,
Wet Loss, and all other items attributable to such Membership
Interest for such Fiscal Year shall be divided and allocated between
the transferor and the transferee by taking into account their

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varying interests during the Fiscal Year in accordance with Section
706(d) of the Code, using any conventions permitted by law and
selected by the Company. All Distributions on or before the date of
a Permitted Transfer shall be made to the transferor, and all
Distributions thereafter shall be made to the transferee. Solely for
purposes of making such allocations and Distributions, the Company
shall recognize a Permitted Transfer not later than the end of the
calendar month during which it is given notice stating the date such
Membership Interest was Transferred and such other information as
the Company may reasonably require. If a Transfer is not a Permitted
Transfer then ail of such items shall be allocated, and ali
Distributions shall be made, to the Person who, according to the
books and records of the Company, on the last day of the Fiscal Year
during which the Transfer occurs, was the owner of the Membership
Interest. The Members and the Company shall incur no liability for
making allocations and distributions in accordance with the
provisions of this Section and this Agreement, whether or not the
Members or the Company has any knowledge of any Transfer of
ownership of any interest in the Company.

11.6 Transfers Between Members. Except as specifically

provided, the restrictions of Article XI shall not apply to a
Transfer from one Member to another Member.

11.7 Transfer to Descendants of Members. The restrictions of

Article XI shall apply to a Transfer from a Member to his or her
descendant, either during his or her life, or upon his or her death
by Will, either directly or in a Trust for the descendant's benefit.

11.8 Tag-Along/Drag-Along. If at any time any Member proposes

to sell fifty (50%) percent or more of the Membership Interests of
the Company to a bona fide purchaser in an arms-length transaction,
for Fair value, such Member shall provide each other Member with not
less than twenty (20) days’ prior written notice of such proposed
sale, which notice shali include all of the terms and conditions of
such proposed sale and which shall identify the purchaser. In such
notice, the offering Member shall indicate whether he/it elects to
require each other Member to sell to the purchaser the same
percentage (the “Percentage”) of the Membership Interests then owned
by each such other Member as the percentage of the total number of
Membership Interests owned by such offering Member which are to be
sold pursuant to the bona fide purchaser and, if such offering
Member so elects, each such other Member shall sell the same
Percentage of his/its Membership Interests to the purchaser at the
same time-as, and on the same terms and conditions at which, the
offering Member sells the Membership Interests owned by him/it.

If the offering Member shall not elect to require each other

Member to sell his/its Membership Interest pursuant to the preceding
paragraph, each other Member shall have the option, exercisable by
written notice to the offering Member within ten (10) days after the
receipt of the offering Member's notice, to require the offering

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Member to arrange for the bona fide purchaser to purchase the same
Percentage of the Membership Interests then owned by each such other
Member as well as the offering Member’s Interests at the same time
as, and upon the same terms and conditions at which, the offering
Member sells his/its shares. If any such other Member shall make
this election, the offering Member agrees that he/it shall either

arrange for the proposed purchaser to purchase the same

Percentage of the Membership Interest then owned by each such other
Member at the same time as, and upon the same terms and conditions
at which, the offering Member sells hi/its Membership Interests, or
(b) not effect the proposed sale to such purchaser.

11.9 Purchase of Shares on Death of Member.

(a) Upon the death of a Member, the Member's Estate shall be

obligated to sell and the Company shall be obligated to purchase,
at the price determined under Section 11.9(d), the Membership
Interest of the deceased Member.

(b) The transfer of the deceased’ s Member's Membership Interest

shall take place within 180 days following the appointment of the
Estate's representative.

(c) The price determined hereunder shall be paid in twenty (20)

semi-annual installments, bearing interest at the then Applicable
Federal Rate.

(d) The purchase price of each percentage share of Membership

Interest which is purchased pursuant to any of the provisions of
this Agreement, except as otherwise hereinafter provided, shall be
the value per interest of such Membership Interest which is
determined by a mutually selected appraiser or, if the parties
cannot agree on an appraiser, by an appraiser selected by an
appraiser selected by each. If such appraisers cannot agree on a
third appraiser, then the price shall be determined by the American
Arbitration Association, under its commercial arbitration rules then
in effect in Nassau County.

ARTICLE XII
DISSOCIATION OF A MEMEER

12.1 Dissociation. A person shall cease to be a Member upon

the happening of any of the following events:

(a) the withdrawal or retirement of a Member;

(b) the bankruptcy of a Member;
(c) in the case of a Member who is a natural person, the

death of the Member or the entry of an order by a court of competent
jurisdiction adjudicating the Member incompetent to manage the
Member's personal estate;

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{d) in the case of a Member that is a trust or who is

acting as a Member by virtue of being a trustee of a trust, the
termination of the trust (but not merely the substitution of a new
trustee};

{e) in the case of a Member that is a separate Organization

other than a corporation, the dissolution and commencement of
Winding up of the separate Organization;

(£) in the case of a Member that is a corporation, the

filing of a certificate of dissolution, or its equivalent, for the
corporation or the revocation of its charter; or

(g)in the case of a Member that is an estate, the

distribution by the fiduciary of the estate's entire interest in the
company.

12.2 Rights of Dissociating Member. In the event any Member

dissociates prior to the expiration of the term of this Agreement,
the Member shall be entitled to participate in the winding up of the
Company to the same extent of any other Member. The Company shall
pay to the Member, beginning six months from the date of such
Dissociation, an amount equal to the value of the Member's
Membership Interest in the Company, to be paid over a period not to
exceed five years together with interest at the Applicable Federal
Rate necessary to avoid the imputation of interest under the Code.
The payments shall be personally quaranteed by the remaining
members. The value of the Member's Membership Interest shall include
the amount of any Distributions to which the Member is entitled
under the Agreement and the fair market value of the Member's
Membership Interest as of the date of Dissociation as determined by
a duly qualified appraiser selected by a majority of the Members,
including the Dissociated member or his legal representative. If
said Members can not agree Opon an appraiser, each Member shall
select an appraiser and those appraisers shall select the appraiser
who Shall determine the fair market value of the Member's Membership

Interest.

ARTICLE XIII
DISSOLUTION AND WINDING UP

13.1 Dissolution. The Company shall be dissolved and its

affairs wound up, upon the first to occur of any of the following
events (each of which shall constitute a Dissolution Event):

(a) the expiration of the term of the Agreement, unless

the Company is continued with the consent of all of the Members;

(b) the unanimous written consent of all of the Members;

{c) the Dissociation. of any Member, unless at the time

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of such Dissociation there are at least two remaining Members and
the Company is continued with the consent of all of the remaining
Members within 180 days after such Dissociation;

(qd) when there is but one Member.

13.2 Effect of Dissolution. Upon dissolution, the Company

shall not be terminated and shall continue until the winding up of
the affairs of the Company is completed and a certificate of
dissolution has been issued by the Secretary of State of New York,

13.3 Distribution of Assets on Dissolution. Upon the winding

up of the Company, the Members acting together or such Person(s}
designated by the Members representing at least a majority of the
Members’ Sharing Ratios) shall take full account of the assets and
liabilities, of the Company, shall liquidate the assets (unless the
Members determine that a distribution of any Company Property in-
kind would be more advantageous te the Members than the sale
thereof) as promptly as is consistent with obtaining the fair value
thereof, and shall apply and distribute the proceeds therefrom in
the following order:

(a) first, to the payment of the debts and liabilities

of the Company to creditors, including Members who are creditors,
to the extent permitted by law, in satisfaction of such debts and
liabilities, and to the payment of necessary expenses of
liquidation;

(b) second, to the setting up of any reserves which the

Members may deem necessary or appropriate for any anticipated
obligations or contingencies of the Company arising out of or in
connection with the operation or business of the Company. Such
reserves may be paid over by the Members to an escrow agent or
trustee selected by the Members to be disbursed by such escrow agent
or trustee in payment of any of the aforementioned obligations or
contingencies and, if any balance remains at the expiration of such
period as the Members shall deem advisable, shall be distributed by
such escrow agent or trustee in the manner hereinafter provided; —

(c) then, to the Members in accordance with positive

Capital Account balances taking inte account ail Capital Account
adjustments for the Company's taxable year in which the liquidation
occurs. Liquidation proceeds shall be paid within 60 days of the end
of the Company's taxable year in which the liquidation occurs.
Such distributions shall be in cash or Property (which need not be
distributed proportionately) or partly in both, as determined by the
Members.

if at the time of liquidation the Members shall determine that

an immediate sale of some or all Company Property would cause undue
loss to the Members, the Members may, in order to avoid such loss;
defer liquidation,

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13.4 Winding Up and Filing Articles of Dissolution. Upon the

commencement of the winding up of the Company, articles of
dissolution shall be delivered by the Company to the Secretary of
State of New York for filing. The articles of dissolution shall set
forth the information required by the Act. The winding up of the
Company shall be completed when all debts, liabilities, and
obligations of the Company have been paid and discharged or
reasonably adequate provision therefor has been made, and all of the
remaining Property of the Company has been distributed to the

Members.

ARTICLE XIV
MISCELLANEOUS

14.1 Notices. Notices to the Company shall be sent to the

Principal Office of the Company. Notices to the Members shall be
sent to their addresses set forth on Schedule A. Any Member may
require notices to be sent to a different address by giving notice
to the other Members in accordance with this Section 14.1. Any
notice or other communication required or permitted hereunder shall
be in writing, and shall be deemed to have been given with receipt
confirmed if and when delivered personally, given by prepaid
telegram or mailed first class, postage prepaid, delivered by
courier, or sent by facsimile, to such Members at such address.

14.2 Headings. All Article and section headings in the

Agreement are for convenience of reference only and are not intended
to qualify the meaning of any Article or section.

14.3 Entire Agreement. This Agreement together with the

schedules and appendices attached hereto constitutes the entire
agreement between the parties and supersedes any prior agreement or
understanding between them respecting the subject matter of this

Agreement.

14.4 Binding Agreement, The Agreement shall be binding upon,

and inure to the benefit of, the parties hereto, their successors,
heirs, legatees, devisees, assigns, legal representatives, executors
and administrators, except as otherwise provided herein.

14.5 Saving Clause. [If any provision of this Agreement, or the

application of such provision to any Person or circumstance, shall
be held invalid, the remainder of this Agreement, or the application
of such provision to Persons or circumstances other than those as
to which it is held invalid, shall not be affected thereby. If the
operation of any provision of this Agreement would contravene the
provisions of the Act, such provision shall be void and ineffectual.

14.6 Counterparts. The Agreement may be executed in several

counterparts, and all so executed shall constitute one agreement,
binding on all the parties hereto, even though all parties are not
signatory to the original or the same counterpart. Any counterpart

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of either the Agreement shall for all purposes be deemed a fully
executed instrument.

14.7 Governing Law. The Agreement shall be governed by and
construed in accordance with the laws of the State of New York.

14.8 No Membership Intended for Nontax Purposes. The Members
have’ formed the Company under the Act, and expressly do not intend
hereby to form a partnership, either general or limited, under the
New York Partnership Act. The Members do not intend to be partners
one to another, or partners as to any third party. To the extent any
Member, by word or action, represents to another person that any
Member is a partner or that the Company is a Partnership, the Member
making such wrongful representation shall be liable to any other
Members who incur personal liability by reason of such wrongful

representation.

14.5 No Rights of Creditors and Third Parties under Agreement.
The Agreement is entered into among the Company and the Members for
the exclusive benefit of the Company, its Members, and their
successors and assignees. The Agreement is expressly not intended
for the benefit of any creditor of the Company or any other person.
Except and only to the extant provided by applicable statute, no
such creditor or any third party shall have any rights under the
Agreement or any agreement between the Company and any Member with
respect to any Capital Contribution or otherwise.

14.10 General Interpretive Principles. For purposes of this
Agreement, except as otherwise expressly provided or unless the
context otherwise requires:

(a} the terms defined in this Agreement include the
plural as well as the singular, and the use of any gender herein
shall be deemed to include the other gender;

(b) accounting terms not otherwise defined herein have
the meanings given to them in the United States in accordance with

“generally accepted accounting principles;

(c) references herein to "Sections", "paragraphs", and
other subdivisions without reference to a document are to designated
Sections, paragraphs and other subdivisions of this

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agreement;

(qd) a reference to a paragraph without further reference
to a Section is a reference to such paragraph as contained in the
same Section in which the reference appears, and this rule shall
also apply to other subdivisions;

{e) the words “herein”, "hereof, "hereunder" and other
words of similar import refer to this Agreement as a whole and not
to any particular provision; and

(£) the term "include" or "including" shall mean without
limitation by reason of enumeration.

IN WITNESS WHEREOF, the parties hereto have hereunto set
their hands and seals as of the Effective Date.

COOPER SQUARE VENTURES, LLC NDA HOLDING LLC
By: BAWY LLC, L le member

  

 

 

    

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SCHEDULE A
Name and Address Description of Value
of Member Of Initial Capital
Contribution
Cooper Square Ventures, LLC 4300

NDA Holding LLC
51 units/51.0%

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No. Of Units .
Membership Interest

and Sharing Ratio

49 units/49.02
5100

 
